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 6
                               UNITED STATES DISTRICT COURT
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                           SOUTHERN DISTRICT OF CALIFORNIA
 8
 9    UNITED STATES OF AMERICA,           )      Case No. 17cr945 JM
                                          )
10                Plaintiff,              )
                                          )      ORDER GRANTING
11    v.                                  )      JOINT MOTION TO ADJUST
                                          )      CUSTODY CREDITS
12    NICOLAS J. PETERS,                  )
                                          )
13                Defendant.              )
                                          )
14                                        )
15          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT the Joint
16    Motion of the parties to award Mr. PETERS an additional 17 days of custody credits
17    (Doc. No. 38) is hereby GRANTED.
18          IT IS SO ORDERED.
19    DATED: March 16, 2018
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                                              Hon. Jeffrey T. Miller
21                                            United States District Judge
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